                 Case 6:16-bk-16877-WJ               Doc 292 Filed 01/23/18 Entered 01/23/18 16:01:13                 Desc
                                                      Main Document    Page 1 of 28


                       1 Leonard M. Shulman - Bar No. 126349
                         Rika M. Kido - Bar No. 273780
                       2 SHULMAN HODGES & BASTIAN LLP
                         100 Spectrum Center Drive, Suite 600
                       3 Irvine, California 92618
                         Telephone: (949) 340-3400
                       4 Facsimile:      (949) 340-3000
                         Email: lshulman@shbllp.com, rkido@shbllp.com
                       5

                       6 Proposed Attorneys for Lynda T. Bui,
                         Chapter 7 Trustee
                       7

                       8                               UNITED STATES BANKRUPTCY COURT

                       9                  CENTRAL DISTRICT OF CALIFORNIA, RIVERSIDE DIVISION

                     10

                     11      In re                                             Case No. 6:16-bk-16877-WJ

                     12      RUSSEL DENNIS HILES, III,                         Chapter 7

                     13                                                        CHAPTER 7 TRUSTEE’S APPLICATION
                             Debtor.                                           FOR AN ORDER AUTHORIZING
                     14                                                        EMPLOYMENT OF STRATEGIC REALTY,
                                                                               LLC; DECLARATION OF JOSH HANSEN
                     15                                                        IN SUPPORT

                     16                                                        [No Hearing Set Pursuant to
                                                                               Local Bankruptcy Rule 2014-1(b)]
                     17
                                     TO THE HONORABLE WAYNE E. JOHNSON, UNITED STATES BANKRUPTCY
                     18
                            JUDGE, THE OFFICE OF THE UNITED STATES TRUSTEE AND ALL INTERESTED
                     19
                            PARTIES:
                     20
                                     Lynda T. Bui (“Trustee”), the duly appointed, qualified, and acting Chapter 7 Trustee for the
                     21
                            bankruptcy estate (‘Estate”) of Russel Dennis Hiles, III (“Debtor”), brings this application
                     22
                            (“Application”) for an order authorizing the employment of Strategic Realty, LLC (“Broker”) as the
                     23
                            Trustee’s real estate broker in this bankruptcy case to assist the Trustee in the listing, marketing and
                     24
                            negotiating of a sale of the Estate’s interest in certain real property identified below. In support of
                     25
                            the Application, the Trustee respectfully represents as follows:
                     26

                     27

                     28
 SHULMAN HODGES &
      BASTIAN LLP
100 Spectrum Center Drive
        Suite 600
                                                                               1
    Irvine, CA 92618        Employ App Strategic Realty LLC TC Hiles
                 Case 6:16-bk-16877-WJ                 Doc 292 Filed 01/23/18 Entered 01/23/18 16:01:13                          Desc
                                                        Main Document    Page 2 of 28


                       1                                   I.       BACKGROUND INFORMATION

                       2 A.         Case Information

                       3            The Debtor filed a chapter 11 bankruptcy petition on August 1, 2016 (“Petition Date”), in the

                       4 United States Bankruptcy Court, Central District of California, Case No. 6:16-bk-16877-WJ.

                       5 Pursuant to order entered on December 21, 2017 (docket 275), the case was converted to Chapter 7

                       6 and Lynda T. Bui was subsequently appointed as the Trustee for this Estate.

                       7 B.         The Bend Property

                       8            On his Schedule A/B, the Debtor lists his ownership of a 40 acre ranch located at 66876 Gist

                       9 Road, Bend, Oregon 97703 (“Bend Property”). The Debtor also valued the Bend Property at

                     10 $12,000,000.00 and on his Schedule D, listed the following liens totaling $788,134.00: (1) lien in

                     11 favor of Bank of America in the amount of $783,134.00; and (2) lien in favor of the Deschutes County

                     12 Treasurer in the amount of $5,000.00. The Debtor did not claim an exemption against the Bend

                     13 Property.

                     14             The Trustee has been informed by the Broker that the Debtor appears to have over-stated the

                     15 value of the Bend Property on his Schedules. The Broker has advised that based on comparable

                     16 properties in the area, a realistic value of the Bend Property is approximately $3,000,000.00. Even

                     17 with this lower value and the costs of a sale, there appears to be substantial equity in the Bend

                     18 Property for the benefit of the Estate and its creditors. 1

                     19                                    II.      SERVICES TO BE PERFORMED

                     20             In order to market the Bend Property for sale in the most effective manner and thereby to

                     21 liquidate it for the best and highest price in the current real estate market, the Trustee has solicited

                     22 the assistance of the Broker, which is an Oregon licensed real estate broker with offices located at

                     23 1001 SW Emkay Dr #100, Bend, Oregon, 97702, telephone number 541-678-0756. Attached to

                     24 the Declaration of Josh Hansen (“Hansen Declaration”) as Exhibit 1 is true and correct copy of the

                     25 Multiple Listing Service of Central Oregon Listing Contract and the addenda thereto for which the

                     26
                            1
                     27         The last day to timely file proof of claims in this case is April 9, 2018. Government claims were due by June 5,
                            2017. The Court’s claims register indicates that as of January 4, 2018, there have been 23 claims filed totaling
                     28     $22,467,183.35, consisting of secured claims $3,876,937.90, priority claims of $4,142,670.39 and general unsecured
 SHULMAN HODGES &
                            claims of $14,447,575.06.
      BASTIAN LLP
100 Spectrum Center Drive
        Suite 600
                                                                                     2
    Irvine, CA 92618        Employ App Strategic Realty LLC TC Hiles
                 Case 6:16-bk-16877-WJ               Doc 292 Filed 01/23/18 Entered 01/23/18 16:01:13                Desc
                                                      Main Document    Page 3 of 28


                       1 Trustee seeks Court approval. Attached as Exhibit 2 to the Hansen Declaration is a copy of Mr.

                       2 Hansen’s resume, the broker/owner of the Broker firm who will oversee the listing and marketing

                       3 of the Bend Property for sale.

                       4            The Broker is familiar with the sale of real property in the context of a bankruptcy case and

                       5 will be able to provide knowledge that is unique to the sale of Bend Property and to negotiate a sale

                       6 to address a potential complex bankruptcy sale. The Trustee is informed that the Broker is

                       7 experienced in real estate sales and marketing, including the area in which the Property is located,

                       8 and is well qualified in negotiating sales of real property similar to the Bend Property. The

                       9 employment of the Broker is anticipated to benefit the Estate by providing marketing coverage as

                     10 well as services that are unique to the sale of real property in the context of a bankruptcy case.

                     11             The Broker, on the Trustee’s behalf, has examined the Bend Property and has agreed to

                     12 advertise the Property at its expense, to show the Bend Property to interested parties, to represent

                     13 the Estate as seller in connection with the sale of the Bend Property, and to advise the Trustee with

                     14 respect to obtaining the highest and best offers available for the property in the present market. The

                     15 proposed listing price for the Bend Property is $2,995,000.00.

                     16             Any sale of the Bend Property by the Trustee will be conducted in accordance with

                     17 Bankruptcy Code Section 363 and Federal Rule of Bankruptcy Procedure 6004 upon a noticed

                     18 motion to be filed in the Debtor’s bankruptcy case.

                     19 A.          Compensation Procedure

                     20             In consideration for the Broker’s services, subject to further application and Court order, the

                     21 Broker will receive, upon consummation of any such sale, a real estate agent’s commission in an

                     22 amount of five percent (5%) of the purchase price. The Broker has agreed to cooperate with outside

                     23 brokers. In the event any broker or agent other than the Broker represents a purchaser of the Bend

                     24 Property (a “Selling Broker”), the commission will be split between the Broker and the Selling

                     25 Broker in amounts to be determined. In any event, the total commission will not exceed five percent

                     26 (5%) of the total purchase price.

                     27

                     28
 SHULMAN HODGES &
      BASTIAN LLP
100 Spectrum Center Drive
        Suite 600
                                                                              3
    Irvine, CA 92618        Employ App Strategic Realty LLC TC Hiles
                 Case 6:16-bk-16877-WJ               Doc 292 Filed 01/23/18 Entered 01/23/18 16:01:13             Desc
                                                      Main Document    Page 4 of 28


                       1            The Broker has been informed and understands that no sale of the Bend Property may be

                       2 consummated until after (a) notice to creditors with the opportunity for a hearing on the proposed

                       3 sale, and (b) entry of a Court order approving the sale.

                       4            The Broker has been informed and understands that the Bend Property is being sold on an

                       5 “as is – where as” basis with all faults and conditions then existing at the Bend Property, and thus

                       6 understands that (a) the Trustee is not making any representations, warranties, either express or

                       7 implied, as to the condition of the Bend Property, uses (prior, present and future), or otherwise; (b)

                       8 the Trustee shall not provide the buyer with any reports as to the use or condition of the Bend

                       9 Property; (c) the Trustee shall not provide the buyer with any warranty protection plan with any

                     10 building permits or plans; and (d) the Trustee is selling the Bend Property solely in her capacity as

                     11 the Chapter 7 Trustee of the Estate.

                     12             The Broker has agreed to be compensated subject to the provisions of Bankruptcy Code

                     13 Section 328. The Broker is aware of the provisions of Bankruptcy Code Section 328(a) and has

                     14 agreed, notwithstanding the terms and conditions of employment here, that the Court may allow

                     15 compensation different from the compensation provided here, if such terms and conditions prove to

                     16 have been improvident in light of developments unanticipated at the time of the fixing of such terms

                     17 and conditions.

                     18 B.          The Broker is “Disinterested”

                     19             To the best of the Trustee’s knowledge, and as set forth in the Hansen Declaration, other

                     20 than the Broker having represented Chapter 7 panel trustees in the District of Oregon as a real estate

                     21 broker in other non-related bankruptcy cases pending in the District of Oregon, the Broker and

                     22 members of its office: (a) do not hold or represent any interest adverse to the Trustee, the Debtor,

                     23 the Debtor’s creditors or the Estate; (b) have no connections with the Debtor, the Debtor’s creditors,

                     24 any other party in interest, their respective attorneys and accountants, the United States Trustee, any

                     25 person employed in the office of the United States Trustee, or any bankruptcy judge presiding in the

                     26 United States Bankruptcy Court for the Central District of California; and (c) is a disinterested

                     27 person as that term is defined in Bankruptcy Code Section 101 (14) and used in Bankruptcy Code

                     28 Section 327(a).
 SHULMAN HODGES &
      BASTIAN LLP
100 Spectrum Center Drive
        Suite 600
                                                                            4
    Irvine, CA 92618        Employ App Strategic Realty LLC TC Hiles
Case 6:16-bk-16877-WJ   Doc 292 Filed 01/23/18 Entered 01/23/18 16:01:13   Desc
                         Main Document    Page 5 of 28
Case 6:16-bk-16877-WJ   Doc 292 Filed 01/23/18 Entered 01/23/18 16:01:13   Desc
                         Main Document    Page 6 of 28




                   DECLARATION
                 Case 6:16-bk-16877-WJ               Doc 292 Filed 01/23/18 Entered 01/23/18 16:01:13             Desc
                                                      Main Document    Page 7 of 28


                       1                                   DECLARATION OF JOSH HANSEN

                       2            I, Josh Hansen, declare and state as follows:

                       3            1.      The matters stated here are true and correct and within my personal knowledge. If

                       4 called as a witness, I could and would competently testify thereto. I am a real estate broker, duly

                       5 licensed in the State of California and the principal owner/broker with Strategic Realty, LLC,

                       6 located at 1001 SW Emkay Dr #100, Bend, Oregon, 97702; telephone 541-678-0756. I make this

                       7 declaration in support of the Application for Order Authorizing Employment of Strategic Realty,

                       8 LLC (“Application”) filed by Lynda T. Bui, the Chapter 7 trustee (“Trustee”) for the bankruptcy

                       9 estate (“Estate”) of In re Russel Dennis Hiles, III (“Debtor”), Case No. 6:16-bk-16877-WJ.

                     10             2.      I have read the Application and am familiar with the real property located at 66876

                     11 Gist Road, Bend, Oregon 97703(“Property”).

                     12             3.      The Broker has agreed to accept employment on the terms and conditions set forth

                     13 in the Application and as set forth in the Multiple Listing Service of Central Oregon Listing Contract

                     14 and its addenda, a copy of which is attached here as Exhibit 1 and incorporated here by this

                     15 reference. I believe that the Broker is qualified to represent the Trustee and the Estate in connection

                     16 with the marketing of the Property and negotiating a sale. Attached here as Exhibit 2 is a copy of

                     17 my resume.

                     18             4.      I have been informed and understand that no sale of the Bend Property may be

                     19 consummated until after (a) notice to creditors with the opportunity for a hearing on the proposed

                     20 sale, and (b) entry of a Court order approving the sale.

                     21             5.      I have been informed and understand that the Property is being sold on an “as is –

                     22 where as” basis with all faults and conditions then existing at the Property, and thus understand that:

                     23 (a) the Trustee is not making any representations, warranties, either express or implied, as to the

                     24 condition of the Bend Property, uses (prior, present and future), or otherwise; (b) the Trustee shall

                     25 not provide the buyer with any reports as to the use or condition of the Property; (c) the Trustee

                     26 shall not provide the buyer with any warranty protection plan with any building permits or plans;

                     27 and (d) the Trustee is selling the Bend Property solely in her capacity as the Chapter 7 trustee of the

                     28 Debtor’s Estate.
 SHULMAN HODGES &
      BASTIAN LLP
100 Spectrum Center Drive
        Suite 600
                                                                              6
    Irvine, CA 92618        Employ App Strategic Realty LLC TC Hiles
                 Case 6:16-bk-16877-WJ               Doc 292 Filed 01/23/18 Entered 01/23/18 16:01:13                Desc
                                                      Main Document    Page 8 of 28


                       1            6.      The Broker has agreed and understand that notwithstanding the terms and conditions

                       2 of employment set forth here, that the Court may allow compensation different from the

                       3 compensation provided here if such terms and conditions prove to have been improvident in light

                       4 of development unanticipated at the time of the fixing of such terms and conditions.

                       5            7.      The Broker has no pre-petition claim against the Debtor’s Estate.

                       6            8.      The Broker received no retainer for the services to be performed.

                       7            9.      To the best of my knowledge after full investigation, Strategic Realty, LLC and its

                       8 principals, employees, agents and I:

                       9                    a. do not hold or represent any interest adverse to the Trustee, the Debtor, Debtor’s

                     10 creditors or the Estate;

                     11                     b. other than the Broker having represented Chapter 7 panel trustees in the District

                     12 of Oregon as a real estate broker in other non-related bankruptcy cases pending in the District of

                     13 Oregon, have no connections with the Debtor, the Debtor’s creditors, any other party in interest,

                     14 their respective attorneys and accountants, the United States Trustee, any person employed in the

                     15 office of the United States Trustee, or any bankruptcy judge presiding in the United States

                     16 Bankruptcy Court for the Central District of California;

                     17                     c. are “disinterested” as that term is defined in Bankruptcy Code Section 101 (14)

                     18 and used in Bankruptcy Code Section 327(a) because we:

                     19                             i.      are not a creditor or an insider;

                     20                             ii.     are not and were not an investment banker for any outstanding

                     21 security of the Debtor;

                     22                             iii.    have not been, within three years before the date of the filing of the

                     23 Debtor’s petition, an investment banker for the security of the Debtor or an attorney for such an

                     24 investment banker in connection with the offer, sale or issuance of a security of the Debtor;

                     25                             iv.     are not and were not, within two years before the date of the filing of

                     26 the Debtor’s petition, a director, officer or employee of the Debtor or of an investment banker

                     27 specified in subparagraphs (b) or (c) of this paragraph 9; and

                     28
 SHULMAN HODGES &
      BASTIAN LLP
100 Spectrum Center Drive
        Suite 600
                                                                                7
    Irvine, CA 92618        Employ App Strategic Realty LLC TC Hiles
Case 6:16-bk-16877-WJ   Doc 292 Filed 01/23/18 Entered 01/23/18 16:01:13   Desc
                         Main Document    Page 9 of 28
Case 6:16-bk-16877-WJ   Doc 292 Filed 01/23/18 Entered 01/23/18 16:01:13   Desc
                         Main Document    Page 10 of 28




                                  Exhibit 1
                              Listing Contract
DocuSign Envelope ID: 6AA5EC9A-3EA5-4146-AA8F-5FFE8C227FEC
            Case 6:16-bk-16877-WJ           Doc 292 Filed 01/23/18 Entered 01/23/18 16:01:13    Desc
                                             Main Document    Page 11 of 28




                                                                        	





                                                       Exhibit 1
DocuSign Envelope ID: 6AA5EC9A-3EA5-4146-AA8F-5FFE8C227FEC
            Case 6:16-bk-16877-WJ           Doc 292 Filed 01/23/18 Entered 01/23/18 16:01:13   Desc
                                             Main Document    Page 12 of 28




                                                                              




                                                       Exhibit 1
DocuSign Envelope ID: 6AA5EC9A-3EA5-4146-AA8F-5FFE8C227FEC
            Case 6:16-bk-16877-WJ           Doc 292 Filed 01/23/18 Entered 01/23/18 16:01:13   Desc
                                             Main Document    Page 13 of 28




                                                       Exhibit 1
DocuSign Envelope ID: 6AA5EC9A-3EA5-4146-AA8F-5FFE8C227FEC
            Case 6:16-bk-16877-WJ           Doc 292 Filed 01/23/18 Entered 01/23/18 16:01:13   Desc
                                             Main Document    Page 14 of 28




                                                                                     	


                                                                                       	





                                                       Exhibit 1
DocuSign Envelope ID: 6AA5EC9A-3EA5-4146-AA8F-5FFE8C227FEC
            Case 6:16-bk-16877-WJ           Doc 292 Filed 01/23/18 Entered 01/23/18 16:01:13   Desc
                                             Main Document    Page 15 of 28




                                                                   




                                                       Exhibit 1
DocuSign Envelope ID: 6AA5EC9A-3EA5-4146-AA8F-5FFE8C227FEC
            Case 6:16-bk-16877-WJ           Doc 292 Filed 01/23/18 Entered 01/23/18 16:01:13   Desc
                                             Main Document    Page 16 of 28




                                                       Exhibit 1
DocuSign Envelope ID: 6AA5EC9A-3EA5-4146-AA8F-5FFE8C227FEC
            Case 6:16-bk-16877-WJ           Doc 292 Filed 01/23/18 Entered 01/23/18 16:01:13   Desc
                                             Main Document    Page 17 of 28




                                                       Exhibit 1
DocuSign Envelope ID: 6AA5EC9A-3EA5-4146-AA8F-5FFE8C227FEC
            Case 6:16-bk-16877-WJ           Doc 292 Filed 01/23/18 Entered 01/23/18 16:01:13   Desc
                                             Main Document    Page 18 of 28




                                                                                      	


                                                                                      	





                                                       Exhibit 1
DocuSign Envelope ID: 6AA5EC9A-3EA5-4146-AA8F-5FFE8C227FEC
            Case 6:16-bk-16877-WJ                  Doc 292 Filed 01/23/18 Entered 01/23/18 16:01:13      Desc
                                                    Main Document    Page 19 of 28

                                                $''(1'8072/,67,1*&2175$&7
            
                     /\QGD7%XL&KDSWHU7UXVWHH³7UXVWHH´IRUWKHEDQNUXSWF\HVWDWH³(VWDWH´RI
            In re Russel Dennis Hiles, III (“Debtor”), FXUUHQWO\ SHQGLQJ LQ WKH 8QLWHG 6WDWHV
            %DQNUXSWF\&RXUWIRUWKH&HQWUDO'LVWULFWRI&DOLIRUQLD5LYHUVLGH'LYLVLRQ&DVH1R
            EN:-DJUHHVWRJUDQW6WUDWHJLF5HDOW\//&³%URNHU´WKHH[FOXVLYHULJKWVWR
            QHJRWLDWHDVDOHRIUHDOSURSHUW\RIWKH(VWDWHORFDWHGDW*LVW5G%HQG25 
            ³3URSHUW\´XSRQWKHWHUPVDQGFRQGLWLRQVRIWKH0XOWLSOH/LVWLQJ6HUYLFHRI&HQWUDO
            2UHJRQ/LVWLQJ&RQWUDFW³/LVWLQJ&RQWUDFW´HQWHUHGLQWRZLWKUHVSHFWWRWKH3URSHUW\
            FRQFXUUHQWO\ KHUHZLWK DV DPHQGHG E\ WKH IROORZLQJ WHUPV DQG FRQGLWLRQV RI WKLV
            $GGHQGXP
            
                       $GGHQGXP7KLV$GGHQGXPDPHQGVWKH/LVWLQJ&RQWUDFW1RWZLWKVWDQGLQJ
            DQ\ FRQWUDU\ WHUPV DQG FRQGLWLRQV LQ WKH /LVWLQJ &RQWUDFW WKLV $GGHQGXP VKDOO DSSO\
            %URNHU DJUHHV WKDW DQ\ SUHYLRXV OLVWLQJ FRQWUDFWV RU DJUHHPHQWV ZLWK UHJDUG WR WKH
            3URSHUW\DUHQXOODQGYRLG
                     
                        1R/LDELOLW\
                     
                          $7KH7UXVWHHLVOLVWLQJWKH3URSHUW\IRUVDOHZLWKWKH%URNHULQKHUFDSDFLW\
            DVWKH&KDSWHU7UXVWHHRIWKH(VWDWHDQGQRWLQKHUSHUVRQDOFDSDFLW\DQGQROLDELOLW\
            RUREOLJDWLRQVVKDOODFFUXHWRKHUSHUVRQDOO\DVDUHVXOWRIVXFKOLVWLQJ7KHUHVKDOOEHQR
            FODLPE\%URNHUIRUGDPDJHVRIDQ\NLQGDJDLQVWWKH7UXVWHHRUDJDLQVWWKHODZILUPRI
            ZKLFKVKHLVDVVRFLDWHG6KXOPDQ+RGJHV	%DVWLDQ//3$Q\FODLPIRUGDPDJHVE\
            %URNHUDVLWUHODWHVWRWKHOLVWLQJRUVDOHRIWKH3URSHUW\VKDOORQO\EHDJDLQVWWKH(VWDWH
                     
                          %7KH%URNHUVKDOOQRWEHUHVSRQVLEOHIRUWKHSHUVRQDOSRVVHVVLRQVORFDWHG
            DW WKH 3URSHUW\ 7KH %URNHU VKDOO IDFLOLWDWH WKH VFKHGXOLQJ DQG DFFHVV RI DOO UHTXHVWHG
            UHSDLUVDQGSURSHUW\VHUYLFHVIRUWKH(VWDWH7KH(VWDWHVKDOOEHVROHO\UHVSRQVLEOHIRU
            DOOH[SHQVHVUHODWHGWRSHUVRQDOSURSHUW\SURSHUW\PDLQWHQDQFHDQGUHSDLUVHWFZKLFK
            ZLOOKDYHWREHUHLPEXUVHGWRWKH%URNHUDWWKHWLPHRIFORVLQJRUHDUOLHULIWKHUHDUHIXQGV
            LQ WKH (VWDWH DW WKH GLVFUHWLRQ RI WKH 7UXVWHH  7KH %URNHU LV QRW UHVSRQVLEOH IRU DQ\
            GDPDJHVWRWKH3URSHUW\FDXVHGE\WKLUGSDUWLHVDULVLQJRXWRIWKHVHUHSDLUVDQGVHUYLFHV
                     
                       7UXVWHH¶V5LJKWWR6HOO7KH7UXVWHHVKDOOKDYHWKHULJKWWRVHOOWKH3URSHUW\
            WRDQ\RQHZKRSULRUWRWKHGDWHRIHQWHULQJLQWRWKH/LVWLQJ&RQWUDFWRUWKLV$GGHQGXP
            KDVH[SUHVVHGDQLQWHUHVWLQSXUFKDVLQJWKH3URSHUW\DQG%URNHUVKDOOQRWEHHQWLWOHGWR
            DFRPPLVVLRQRQVXFKDVDOH7KH7UXVWHHWRSURYLGHDOLVWRIDQ\SRWHQWLDOEX\HUVWKDW
            WKH%URNHUZLOOQRWUHFHLYHDFRPPLVVLRQIRUZLWKLQILYHGD\VRIVLJQLQJWKLV$GGHQGXP
            
                        7HUPLQDWLRQ7KH7UXVWHHPD\WHUPLQDWHWKH/LVWLQJ&RQWUDFWDWKHURSWLRQ
            DQG XSRQ ZULWWHQ QRWLFH WR WKH %URNHU DW DQ\ WLPH DQG QR OLDELOLW\ RU REOLJDWLRQV VKDOO
            DFFUXHWRWKH(VWDWHRUWRWKH7UXVWHHHLWKHUSHUVRQDOO\RULQKHUFDSDFLW\DV7UXVWHHDV
            DUHVXOWRIDQ\VXFKWHUPLQDWLRQ7KH%URNHUPD\DWDQ\WLPHHOHFWWRWHUPLQDWHWKLV/LVWLQJ
            &RQWUDFWDQGZLOOSURYLGHWKH7UXVWHHZLWKWKLUW\GD\VQRWLFHLQZULWLQJ
            
                                                                          
                /LVWLQJ$GGHQGXPUH*LVW5G%HQG257&+LOHVGRF[


                                                               Exhibit 1
                ?(;3
            
                                                                   
                                                                           
DocuSign Envelope ID: 6AA5EC9A-3EA5-4146-AA8F-5FFE8C227FEC
            Case 6:16-bk-16877-WJ                  Doc 292 Filed 01/23/18 Entered 01/23/18 16:01:13        Desc
                                                    Main Document    Page 20 of 28

                        $EDQGRQPHQW  7KH 7UXVWHH UHVHUYHV WKH ULJKW LQ KHU VROH GLVFUHWLRQ WR
            GHWHUPLQHQRWWRVHOOWKH3URSHUW\DQGWRDEDQGRQWKH3URSHUW\E\VHUYLQJDQRWLFHRIKHU
            LQWHQWLRQWRDEDQGRQWKH3URSHUW\XSRQWKH'HEWRUDOOFUHGLWRUVRIWKH(VWDWHWKH8QLWHG
            6WDWHV7UXVWHHDQGDOOSDUWLHVLQLQWHUHVW,QWKHHYHQWRIDQ\VXFKDEDQGRQPHQWWKH
            /LVWLQJ &RQWUDFW DQGWKLV $GGHQGXP VKDOO WHUPLQDWH DQG QR OLDELOLW\ RU REOLJDWLRQV VKDOO
            DFFUXHWRWKH(VWDWHRUWRWKH7UXVWHHHLWKHUSHUVRQDOO\RULQKHUFDSDFLW\DV7UXVWHHDV
            DUHVXOWRIDQ\VXFKDEDQGRQPHQWDQGWHUPLQDWLRQ
            
                        &RQGLWLRQVRI6DOH7KH%URNHUDJUHHVDQGXQGHUVWDQGVWKDWDQ\VDOHRI
            WKH3URSHUW\VKDOOEHVXEMHFWWRWKHIROORZLQJWHUPVDQGFRQGLWLRQV
                    
                           D    7KH7UXVWHHLVVHOOLQJWKH3URSHUW\LQKHUFDSDFLW\DVWKH&KDSWHU
                                  7UXVWHHRIWKH'HEWRU¶V(VWDWHDQGQRWLQKHUSHUVRQDOFDSDFLW\DQG
                                  QROLDELOLW\RUREOLJDWLRQVVKDOODFFUXHWRKHUSHUVRQDOO\DVDUHVXOWRI
                                  DQ\VDOH
                           
                           E    ,IIRUDQ\UHDVRQRUQRUHDVRQZKDWVRHYHUWKH7UXVWHHLVXQDEOHWR
                                  GHOLYHUSRVVHVVLRQRUWLWOHWRWKH3URSHUW\WRDQ\SRWHQWLDOSXUFKDVHU
                                  WKHSXUFKDVHU¶VVROHUHPHG\VKDOOEHWKHUHWXUQRIDQ\PRQH\WKDW
                                  WKHSXUFKDVHUKDVGHSRVLWHGWRZDUGVWKHSXUFKDVHRIWKH3URSHUW\
            
                           F    7KH7UXVWHHLVVHOOLQJWKH3URSHUW\LQDQ³$6,6´FRQGLWLRQRUEDVLV
                                  E\ TXLWFODLP GHHG ZLWKRXW DQ\ UHSUHVHQWDWLRQV RU ZDUUDQWLHV
                                  ZKDWVRHYHU LQFOXGLQJ ZLWKRXW OLPLWDWLRQ UHSUHVHQWDWLRQV RU
                                  ZDUUDQWLHV DV WR WLWOH RLO DQG PLQHUDO ULJKWV FLW\ RU JRYHUQPHQW
                                  DJHQF\QRWLILFDWLRQVUHJDUGLQJZRUNWREHGRQHPDUNHWDELOLW\RIWLWOH
                                  RZQHUVKLSSK\VLFDOFRQGLWLRQFRPSOLDQFHZLWKVWDWHFLW\RUIHGHUDO
                                  VWDWXWHV FRGHV RUGLQDQFHV RU UHJXODWLRQV JHRORJLFDO VWDELOLW\
                                  ]RQLQJ VXLWDELOLW\ IRU LPSURYHPHQW DQG ILUH LQVXUDQFH SROLFLHV WR
                                  FRYHU DQ\ LPSURYHPHQWV RQ WKH 3URSHUW\ QRU DQ\ DVVXUDQFHV
                                  UHJDUGLQJWKHVXEGLYLGDELOLW\RIWKH3URSHUW\
            
                           G    7KHVDOHRIWKH3URSHUW\LVVXEMHFWWR%DQNUXSWF\&RXUWDSSURYDODIWHU
                                  QRWLFH WR WKH 'HEWRU DOO FUHGLWRUV RI WKH (VWDWH WKH 8QLWHG 6WDWHV
                                  7UXVWHHDQGRWKHUSDUWLHVLQLQWHUHVWDVUHTXLUHGE\WKH%DQNUXSWF\
                                  &RGH )HGHUDO 5XOHV RI %DQNUXSWF\ 3URFHGXUH DQG /RFDO
                                  %DQNUXSWF\5XOHV             
            
                           H    7KHSXUFKDVHUVKDOODWWKHSXUFKDVHU¶VVROHH[SHQVHDFTXLUHDQ\
                                  DQG DOO LQVXUDQFH SROLFLHV WKDW WKH SXUFKDVHU GHVLUHV WR FRYHU WKH
                                  3URSHUW\  7KH 7UXVWHH GRHV QRW DJUHH WR DFTXLUH RU WUDQVIHU DQ\
                                  LQVXUDQFHSROLFLHVWRWKHSXUFKDVHU
            
                           I    7KHSXUFKDVHULVWRDUUDQJHIRUDOOILQDQFLQJRIWKHDFTXLVLWLRQRIWKH
                                  3URSHUW\EHIRUHWKHFORVHRIHVFURZ
            
                                                                          
                /LVWLQJ$GGHQGXPUH*LVW5G%HQG257&+LOHVGRF[


                                                               Exhibit 1
                ?(;3
            
                                                                   
                                                                           
DocuSign Envelope ID: 6AA5EC9A-3EA5-4146-AA8F-5FFE8C227FEC
            Case 6:16-bk-16877-WJ                  Doc 292 Filed 01/23/18 Entered 01/23/18 16:01:13                Desc
                                                    Main Document    Page 21 of 28

                                 J      7KH SXUFKDVHU VKDOO DW WKH SXUFKDVHU¶V VROH H[SHQVH LQVWDOO DOO
                                          VPRNH GHWHFWRUV LI DQ\ DV PD\ EH UHTXLUHG E\ VWDWH RU ORFDO ODZ
                                          7KH 7UXVWHH LV QRW UHTXLUHG WR GHOLYHU WR WKH SXUFKDVHU D ZULWWHQ
                                          VWDWHPHQWRIFRPSOLDQFHZLWKDQ\DSSOLFDEOHVWDWHDQGORFDOODZ
                                 
                                 K      7KHSXUFKDVHUVKDOODWSXUFKDVHU¶VVROHH[SHQVHREWDLQDQGDOOSHVW
                                          FRQWUROLQVSHFWLRQUHSDLUVWKDWSXUFKDVHUGHHPVDSSURSULDWH
            
                                 L      ,I DQ\ ORFDO RUGLQDQFH UHTXLUHV WKDW WKH 3URSHUW\ EH EURXJKW LQWR
                                          FRPSOLDQFH ZLWK PLQLPXP HQHUJ\ FRQVHUYDWLRQ VWDQGDUGV DV D
                                          FRQGLWLRQRIVDOHRUWUDQVIHUWKHSXUFKDVHUVKDOOFRPSO\ZLWKDQGSD\
                                          IRUWKHVHUHTXLUHPHQWVDWSXUFKDVHU
VVROHH[SHQVH 
            
                                 M      $Q\VDOHLVVXEMHFWWRWKHIROORZLQJFRQGLWLRQVEHLQJVDWLVILHGEHIRUH
                                          WKHFORVHRIHVFURZ
            
                                                WKH7UXVWHHPXVWSUHYDLOZLWKUHVSHFWWRDQ\REMHFWLRQVWRWKH
                                                    SURSRVHGVDOHDQG
            
                                                WKH7UXVWHHUHVHUYHVWKHULJKWWRUHMHFWDQ\DQGDOORIIHUVZKLFK
                                                    LQKHUMXGJPHQWDUHLQVXIILFLHQW
            
                                 N      7KH3URSHUW\LVEHLQJVROGVXEMHFWWR
            
                                                $OOJHQHUDODQGVSHFLDOWD[HVWKDWDUHSUHVHQWO\GXHRUPD\
                                                    EHFRPH GXH UHJDUGLQJ WKH 3URSHUW\ RWKHU WKDQ SURSHUW\
                                                    WD[HVZKLFKVKDOOEHSURUDWHGDVRIWKHFORVHRIHVFURZ
            
                                                7KHOLHQRIVXSSOHPHQWDOWD[HVLIDQ\DVVHVVHGSXUVXDQWWR
                                                    WKHSURYLVLRQVRIDSSOLFDEOHVWDWXWHVRIWKH6WDWHRI2UHJRQ
                                                    DQG
            
                                                $Q\DQGDOOHDVHPHQWVUHVWULFWLRQVULJKWVDQGFRQGLWLRQVRI
                                                    UHFRUG DQG ULJKWV RI ZD\ DJDLQVW RQ RU UHJDUGLQJ WKH
                                                    3URSHUW\7LWOHKRZHYHULVWREHWUDQVIHUUHGIUHHRIVHFXUHG
                                                    FODLPVRIUHFRUG
            
                       3D\PHQWRI&RPPLVVLRQ7KHFRPPLVVLRQVWREHSDLGWRWKH%URNHUVKDOO
            RQO\EHSDLGIURPWKHSURFHHGVRIWKHVDOHRIWKH3URSHUW\,IDVDOHLVQRWFRQVXPPDWHG
            IRUDQ\RUQRUHDVRQZKDWVRHYHUWKH%URNHUVKDOOQRWEHHQWLWOHGWRFRPPLVVLRQV7KH
            SDUWLHVDFNQRZOHGJHWKDWWKH/LVWLQJ&RQWUDFWWKLV$GGHQGXPDQGDQ\DJUHHPHQWUHODWLQJ
            WRWKH3URSHUW\LVQRWELQGLQJLQFOXGLQJWKHHQWHULQJLQWRRIDSXUFKDVHDJUHHPHQWXQWLO
            %DQNUXSWF\ &RXUW DSSURYDO  7KH SDUWLHV DFNQRZOHGJH WKDW WKH %DQNUXSWF\ &RXUW PD\
            DIWHU DSSURYDO RI WKLV DJUHHPHQW ODWHU UHGXFH FRPPLVVLRQV DJUHHG WR  ,Q DGGLWLRQ WKH
            FRPPLVVLRQV DUH VXEMHFW WR WKH DSSURYDO RI WKH VHFXUHG FUHGLWRUV LI WKH VDOH RI WKH
            3URSHUW\LVDVKRUWVDOH$FRPPLVVLRQLVQRWHDUQHGXQWLO%DQNUXSWF\&RXUWDSSURYDORI
                                                                          
                /LVWLQJ$GGHQGXPUH*LVW5G%HQG257&+LOHVGRF[


                                                               Exhibit 1
                ?(;3
            
                                                                   
                                                                           
DocuSign Envelope ID: 6AA5EC9A-3EA5-4146-AA8F-5FFE8C227FEC
            Case 6:16-bk-16877-WJ                  Doc 292 Filed 01/23/18 Entered 01/23/18 16:01:13           Desc
                                                    Main Document    Page 22 of 28

            DSXUFKDVHDJUHHPHQWLVREWDLQHGDQGHVFURZLVFORVHG
                    
                           (QWLUH$JUHHPHQW7KLV$GGHQGXPDQGWKH/LVWLQJ&RQWUDFWWRWKHH[WHQW
            WKDWVXFK/LVWLQJ&RQWUDFWLVQRWFRQWUDU\WRWKHWHUPVDQGFRQGLWLRQVKHUHLQFRQVWLWXWH
            WKH HQWLUH FRQWUDFW EHWZHHQ WKH SDUWLHV  $OO SULRU DJUHHPHQWV EHWZHHQ WKH SDUWLHV DUH
            LQFRUSRUDWHGLQWRWKLVFRQWUDFW,WVWHUPVDUHLQWHQGHGE\WKHSDUWLHVDVDILQDOH[SUHVVLRQ
            RIWKHLUDJUHHPHQWZLWKUHVSHFWWRVXFKWHUPVDVDUHLQFOXGHGKHUHLQDQGPD\QRWEH
            FRQWUDGLFWHGE\HYLGHQFHRIDQ\SULRUDJUHHPHQWRUFRQWHPSRUDQHRXVRUDODJUHHPHQW
            7KHSDUWLHVIXUWKHULQWHQGWKDWWKLVDJUHHPHQWFRQVWLWXWHVWKHFRPSOHWHILQDODQGH[FOXVLYH
            VWDWHPHQWRILWVWHUPVDQGWKDWQRH[WULQVLFHYLGHQFHZKDWVRHYHUPD\EHLQWURGXFHGLQ
            DQ\MXGLFLDORUDUELWUDWLRQSURFHHGLQJLIDQ\LQYROYLQJWKLVDJUHHPHQW
            
                           %DQNUXSWF\&RXUW-XULVGLFWLRQ7KH%DQNUXSWF\&RXUWVKDOOKDYHH[FOXVLYH
            MXULVGLFWLRQ WR UHVROYH DQ\ DQG DOO GLVSXWHV UHODWLQJ WR WKLV $GGHQGXP DQG WKH /LVWLQJ
            &RQWUDFW
                    
                     ,I%URNHULVWKHSURFXULQJFDXVHRIDVDOHDQGKDVSURYLGHGSURRIRIVXFK
            SURFXULQJFDXVHWKH(VWDWHVKDOOSD\WKHHDUQHGFRPPLVVLRQDJUHHGXSRQLQWKLV/LVWLQJ
            &RQWUDFWDQG$GGHQGXPLIWKHVDOHFORVHVDQGDWWKHWLPHRIFORVLQJ
                    
                     ,W LV LQWHQGHG WKDW DOO XWLOLWLHV IRU WKH 3URSHUW\ EH SODFHG LQ WKH 7UXVWHH RU
            (VWDWH¶VQDPHDQGWKH(VWDWHVKDOOEHVROHO\UHVSRQVLEOHIRUDOOLQYRLFHVDQGSD\PHQWV
            IRUDOOXWLOLWLHV%URNHUZLOOQRWEHUHVSRQVLEOHIRUWKHSD\PHQWRIDQ\XWLOLW\VHUYLFHIRUWKH
            3URSHUW\  ,I QHFHVVDU\ WKH %URNHU FDQ SODFH WKH XWLOLWLHV LQ LWV QDPH DQG ZLOO EH
            UHLPEXUVHGWKURXJKWKHVDOH%URNHUVKDOO SURYLGH7UXVWHHZLWKDOOFRQWDFWLQIRUPDWLRQ
            QHHGHGWRWUDQVIHUXWLOLW\VHUYLFHVLIUHTXHVWHG
            
            
            
            'DWHG                                                                 
                                                        /<1'$7%8,
                                                        &KDSWHU7UXVWHH
            
                   
                                                              675$7(*,&5($/7<//&
            
            
            'DWHG	

                                                                                             
                                                        -26++$16(1
            
            
            
                                                              
            



                                                                          
                /LVWLQJ$GGHQGXPUH*LVW5G%HQG257&+LOHVGRF[


                                                               Exhibit 1
                ?(;3
            
                                                                   
                                                                           
Case 6:16-bk-16877-WJ   Doc 292 Filed 01/23/18 Entered 01/23/18 16:01:13   Desc
                         Main Document    Page 23 of 28




                                     Exhibit 2
                                     Resume
Case 6:16-bk-16877-WJ      Doc 292 Filed 01/23/18 Entered 01/23/18 16:01:13             Desc
                            Main Document    Page 24 of 28
                                        STRATEGIC REALTY              141 NW Greenwood Suite 100
                                                                      Bend, OR 97701

                                                                      541-678-0756 c
                                                                      888-993-2345 f
                                                                      info@movetobend.com

                                                                      www.movetobend.com



Team

Strategic Realty, LLC has built its reputation on brokering unique properties in unique situ-
ations. Our goal is to extract as much out of the market for our clients as possible. Each
property is looking for only a single buyer, and we use our distinctive methods of market-
ing through professional networks and personal contacts to locate that special person for
each of our clients. We think through the likely prospect profiles, control the presentation,
and pride ourselves on our ability to turn interest into oﬀers. We represent our clients’ in-
terests to the utmost and take our fiduciary obligations extremely seriously.

Josh Hansen, Principal Broker 


                     Josh grew up in a Portland real estate family. While still in college, he
                     was buying and selling rental homes and managing large multi-family
                     complexes. In Portland, Josh specialized in selling and leasing high-
                     tech commercial properties which eventually took him to Las Vegas.
                     When returning to Oregon to be near family, Josh’s interests turned to
                     more traditional real estate sales, where, in his first year, he ranked in
                     the top 5% of sales agents nationwide.


                     When his parents retired to a golf course home in Sunriver, Josh was
                     recruited by Sunriver Realty and quickly became one of their most
valued brokers in Central Oregon. As Sunriver Realty was devastated by the recent down-
turn in the market, Strategic Realty saw an opportunity to add Josh’s extensive Portland
networks and Sunriver expertise to the team. After joining Strategic Realty, Josh rapidly
expanded his markets and expertise, having great success in many regions outside of
Portland and Central Oregon.


After 17 years as a licensed broker, Josh continues to exhibit an electric enthusiasm that
seems to infect his clients. His natural down-home demeanor generates an instant rapport
with those he works with. People are quick to trust Josh, and this is a tremendous asset to
his ability to move properties. 


When asked about his favorite aspect of selling real estate in today’s market, Josh replies,
“Putting together transactions on unique properties. Selling traditional properties can be
challenging at times, but nothing is more satisfying than helping a client sell a property for
more than the market should bear. I thrive in dealing with scenarios where the demand for
creativity and immediate action is critical.”





	                                   Exhibit 2
                                           	
Case 6:16-bk-16877-WJ      Doc 292 Filed 01/23/18 Entered 01/23/18 16:01:13         Desc
                            Main Document    Page 25 of 28




Below is a list of recently closed transactions ranging from an 8,000 +/- custom home on
200 acres to industrial condominiums.


Featured Transactions:


Property type: Retail strip center on leased land  
Seller: Financial institution 
Buyer: Owner of a large local corporation 
Sale price: $1,247,897.59 
Description: 18,000 sf located on approx. 2.5 acres of leased land in Roseburg, OR. 


Property type: Industrial land 
Seller: Private lender 
Buyer: Facebook 
Sale Price: $3,200,000 
Description: Location of Facebook’s first datacenter. Located in Prineville, OR.


Property type: Multifamily 
Seller: Financial institution 
Buyer: Housing Works - local housing authority for Deschutes, Crook and Jeﬀerson coun-
ties. 
Sale Price: $1,300,000 
Description: 19 town homes in Redmond, OR. 


Property type: Industrial building 
Seller: Financial institution 
Buyer: Owner/operator of local corporation 
Sale Price: $548,763.26 
Description: Four industrial condominiums located in White City, Oregon.


Property type: Commercial Building 
Seller: Financial Institution 
Buyer: Crook County 
Sale Price: $225,000 
Description: A vacant commercial building on approximately 5 acres in Prineville, OR.


Property type: Retail center condominium 
Seller: United States Bankruptcy Trustee 
Buyer: Shareholder with 8/9th’s interest in the building 
Sale Price: $625,000 
Description: The Sears building in Prineville, Oregon.


Property type: Commercially-zoned land 
Seller: Financial institution 
Buyer: High net-worth real estate investor 


Josh Hansen Bio - Page 2            Exhibit 2
Case 6:16-bk-16877-WJ      Doc 292 Filed 01/23/18 Entered 01/23/18 16:01:13            Desc
                            Main Document    Page 26 of 28




Sale Price: $1,400,000 
Description: A 4.31 acre development. Mercato in the Old Mill District in Bend, OR.


Property type: Retail mall 
Seller: United States Bankruptcy Trustee 
Buyer: Real estate investor 
Sale Price: $305,000 
Description: Retail mall located on Highway 20 in Tumalo with multiple legal lots. 


Property type: Ranch estate 
Seller: Financial institution  
Buyer: Owner/operator 
Sale Price: $1,396,800 
Description: 200-acre parcel with structurally damaged luxury residence in Roseburg, OR.
House was part of active litigation between the owner and builder during our marketing.


Property type: Retail center 
Seller: Financial institution  
Buyer: Real estate investor 
Sale Price: $1,550,000 
Description: Partially constructed and abandoned retail center located in Milwaukie, OR. 


Property type: Fully lease oﬃce building 
Seller: Financial institution  
Buyer: Real estate investor 
Sale Price: $875,000 
Description: Leased oﬃce building on 122nd Ave in Portland, OR.




Josh Hansen Bio - Page 3           Exhibit 2
            Case 6:16-bk-16877-WJ                  Doc 292 Filed 01/23/18 Entered 01/23/18 16:01:13                                              Desc
                                                    Main Document    Page 27 of 28


                                          PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is: 100 Spectrum Center
Drive, Suite 600, Irvine, California 92618

A true and correct copy of the foregoing document entitled (specify): CHAPTER 7 TRUSTEE’S APPLICATION FOR AN ORDER
AUTHORIZING EMPLOYMENT OF STRATEGIC REALTY, LLC; DECLARATION OF JOSH HANSEN IN SUPPORT
will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner
stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF):
Pursuant to controlling General Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the
document. On (date) January 23, 2018, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined
that the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:




                                                                                                 Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) January 23, 2018, I served the following persons and/or entities at the last known addresses in this bankruptcy case or
adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail, first class, postage
prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge will be completed no later
than 24 hours after the document is filed.

Debtor
Russel Dennis Hiles, III, 155 Metate Place, Palm Desert, CA 92260

                                                                                                 Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL:
(state method for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) Not Applicable, I served
the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to such service
method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration that personal delivery on,
or overnight mail to, the judge will be completed no later than 24 hours after the document is filed.

                                                                                                 Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

  January 23, 2018                          Lorre Clapp                                               /s/ Lorre Clapp
  Date                                      Printed Name                                              Signature




                This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

June 2012                                                                                                   F 9013-3.1.PROOF.SERVICE
            Case 6:16-bk-16877-WJ                    Doc 292 Filed 01/23/18 Entered 01/23/18 16:01:13                                              Desc
                                                      Main Document    Page 28 of 28


                                                                 NEF SERVICE LIST

•           Lynda T. Bui (TR) Chapter 7 Trustee trustee.bui@shbllp.com, C115@ecfcbis.com
•           Robert P Goe on behalf of Debtor Russel Dennis Hiles, III kmurphy@goeforlaw.com,
            rgoe@goeforlaw.com;goeforecf@gmail.com
•           Everett L Green on behalf of U.S. Trustee United States Trustee (RS) everett.l.green@usdoj.gov
•           Samuel Kornhauser on behalf of Creditor Christopher T Borgeson skornhauser@earthlink.net
•           Joshua Lichtman on behalf of Creditor Farmers Insurance Exchange joshua.lichtman@nortonrosefulbright.com,
            Rhonda.cole@nortonrosefulbright.com
•           William F McDonald, III on behalf of Creditor Bank of America, N.A. Caecf@tblaw.com,
            wfm@tblaw.com;snchampney@tblaw.com
•           Charity J Miller on behalf of Debtor Russel Dennis Hiles, III cmiller@goeforlaw.com,
            kmurphy@goeforlaw.com;goeforecf@gmail.com
•           Randall P Mroczynski on behalf of Creditor Daimler Trust and Ford Motor Credit Company LLC randym@cookseylaw.com
•           Ronak N Patel on behalf of Creditor Treasurer Tax Collector County of Riverside rpatel@rivco.org,
            mdominguez@RIVCO.org
•           Steven G Polard on behalf of Interested Party Cynthia Ellen Hiles spolard@eisnerlaw.com, lewing@eisnerlaw.com
•           Kelly M Raftery on behalf of Creditor Wilmington Savings Fund Society, FSB, as trustee of Stanwich Mortgage Loan Trust
            A, its assignees and/or successors, by and through its servicing agent Carrington Mortgage Services, LLC
            bknotice@mccarthyholthus.com, kraftery@ecf.courtdrive.com
•           Kelly M Raftery on behalf of Interested Party Courtesy NEF bknotice@mccarthyholthus.com, kraftery@ecf.courtdrive.com
•           Jason K Schrader on behalf of U.S. Trustee United States Trustee (RS) jason.K.Schrader@usdoj.gov
•           United States Trustee (RS) on behalf of United States Trustee ustpregion16.rs.ecf@usdoj.gov
•           Scott S Weltman on behalf of Creditor KeyBank, N.A. colcaecf@weltman.com
•           Rebecca J Winthrop on behalf of Creditor Farmers Insurance Exchange rebecca.winthrop@nortonrosefulbright.com,
            darla.rodrigo@nortonrosefulbright.com
•           Jennifer C Wong on behalf of Creditor Bank of America, N.A. bknotice@mccarthyholthus.com, jwong@ecf.courtdrive.com
•           Kristin A Zilberstein on behalf of Creditor Wilmington Savings Fund Society, FSB, as trustee of Stanwich Mortgage Loan
            Trust A, its assignees and/or successors, by and through its servicing agent Carrington Mortgage Services, LLC
            ecfnotifications@ghidottilaw.com




                  This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

June 2012                                                                                                     F 9013-3.1.PROOF.SERVICE
